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                                            State of New Jersey
                                     OFFICE OF THE ATTORNEY GENERAL
PHILIP D. MURPHY                 DEPARTMENT OF LAW AND PUBLIC SAFETY                                         MATTHEW J. PLATKIN
    Governor                                   PO BOX 080                                                      Attorney General
                                          TRENTON, NJ 08625-0080
SHEILA Y. OLIVER
 Lt. Governor

                                                 January 23, 2023

   The Honorable Renée Marie Bumb, U.S.D.J.
   United States District Court for the District of New Jersey
   Mitchell H. Cohen Building & U.S. Courthouse
   4th & Cooper Streets
   Camden, NJ 08101

       Re:    Siegel v. Platkin, 22-cv-7463
              Koons v. Reynolds, 22-cv-7464

   Dear Judge Bumb,

             I represent the State Defendants in the above-captioned consolidated matters.
   On January 12, 2023, the Koons parties informed this Court that the parties would like
   to have an opportunity to confer on a preliminary injunction schedule in light of the
   grant of consolidation of the Koons and Siegel matters. Since that time, this Court has
   scheduled a hearing on the Siegel TRO on January 26, 2023. In the interest of setting
   an expedient schedule on the pending motions for preliminary injunction in both cases,
   the State submits this letter to propose a scheduling order.

             As this Court is aware, the Koons Plaintiffs challenge five provisions of the
   sensitive places law in P.L. 2022 Chapter 131 Section 7, and seek both a TRO and PI
   on their challenges. This Court granted a TRO on the Koons Plaintiffs’ claims on
   January 9, 2023.

              In their pending TRO application, the Siegel Plaintiffs challenge the same five
   provisions as the Koons Plaintiffs, plus additional provisions of Chapter 131 Section
   7’s sensitive places law. Moreover, the Siegel Plaintiffs also challenge other, non-place-
   based provisions of Chapter 131, but did not seek TRO relief on those provisions. See




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    Siegel v. Platkin, 22-cv-7463 D.E. 8-10 (Dec. 23, 2022) (non-TRO relief listed on pages
    3-4 as items (s) through (aa), comprising of challenges to Chapter 131’s Sections 2, 3,
    4, 5, and 8).

              To maximize the benefits of consolidated proceedings, State Defendants
    believe it would be most efficient to resolve both Koons and Siegel Plaintiffs’ PI
    challenges to Sections 7—all of which deal with place-based restrictions on the carrying
    of firearms—together. This Court will have already reviewed the TRO submissions on
    those challenges, and expeditious resolution of the PI application can follow. As for the
    additional provisions that only the Siegel Plaintiffs challenge—which do not involve
    place-based restrictions and were not deemed sufficiently emergency in nature for a
    TRO application in Plaintiffs’ view, the State proposes a still-expeditious schedule that
    would follow shortly after hearing on the place-based PI challenges. The Court can issue
    its decision on the place-based PI challenges even as the Siegel parties brief the
    remaining PI issues.

             Thus, State Defendants propose the following PI schedule for the consolidated
    cases:

             • February 6, 2023: Defendants submit consolidated PI opposition on both
               Koons and Siegel challenges to P.L. 2022 Chapter 131, Section 7. 1

             • February 13, 2023: Koons and Siegel Plaintiffs submit replies in support
               of their respective PI motions.

             • Week of February 13, 2023: PI Hearing on consolidated challenges to
               P.L. 2022 Chapter 131, Section 7.

             • February 27, 2023: Defendants submit PI opposition to Siegel challenges
               to other portions of Chapter 131.

             • March 8, 2023: Siegel Plaintiffs submit PI reply on challenges to other
               portions of Chapter 131.

             • Week of March 13 or March 20, 2023: PI hearing on Siegel challenges
               to other portions of Chapter 131.




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 Should this Court issue a TRO decision in Siegel after February 1, 2023, the State Defendants
may require a modest extension to submit their consolidated PI response.
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              State Defendants have sought Plaintiffs’ consent to the above schedule. The
Koons Plaintiffs objected to a consolidated PI briefing schedule on the place-based
challenges, but did not object to bifurcating the non-place-based PI challenges. The Siegel
Plaintiffs did not object to a consolidated PI briefing schedule, but did object to bifurcating
the non-place-based PI challenges.


                                         Respectfully submitted,
                                         MATTHEW J. PLATKIN
                                         ATTORNEY GENERAL OF NEW JERSEY

                                    By: /s/ Angela Cai
                                        Angela Cai
                                        Deputy Solicitor General

cc:     Daniel L. Schmutter, Esq.
        David Jensen, Esq.
